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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 1 of 7

STEPHEN W. ROBERTSON #228708
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Attorneys for Defendant GOOD SAMARITAN HOSPITAL

IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE NORTHERN DISTRICT

SAN JOSE DIVISION

AMIE NEWMARK, individually and as guardian ad
litem for CHRISTIAN NEWMARK and ANDREW
NEWMARK,

Plaintiffs,
v.

GOOD SAMARITAN HOSPITAL, KAISER
MEDICAL CENTER, SAN JOSE MENTAL
HEALTH, HEALING TOUCH ACUPUNCTURE,
MORE PHYSICAL THERAPY, GORDON
WALKER, M.D., DR. EMEKA NCHEK WUBE,
DR. ANNU NAVANI, and DOES 1 TO 20,

Defendant.

 

 

Case No. 5:10-CV-5032 PVT

ANSWER TO COMPLAINT FOR
DAMAGES WRONGFUL DEATH
AND NEGLIGENCE

PURSUANT TO NORTHERN
DISTRICT LOCAL RULE 3-6(A),
GOOD SAMARITAN HOSPITAL
DEMANDS A JURY TRIAL

Defendant, Good Samaritan Hospital, answers the Complaint for Damages Wrongful

Death and Negligence by Amie Newmark, individually and as Guardian ad Litem for Christian

Newmark and Andrew Newmark, as follows:

1. Answering paragraph 1 of the Complaint, Defendant is without sufficient
knowledge or information to form a belief as to the truth of the factual averments contained in

said paragraph, and on that basis denies each and every averment contained therein. The other

averments of paragraph 1 call for legal conclusions as to which no reply 1s required.

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ANSWER TO COMPLAINT

CIVIL ACTION NO. 5-10-CV-5032 PVT 1

 
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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 2 of 7

2. Answering paragraph 2 of the Complaint, said paragraph contains conclusions of
law and not averments of fact for which a response is required, and on that basis, Defendant
denies each and every averment contained therein.

3. Answering paragraph 3 of the Complaint, said paragraph contains conclusions of
law and not averments of fact for which a response is required, and on that basis, Defendant
denies each and every averment contained therein.

4. Answering paragraph 4 of the Complaint, Defendant is without sufficient
knowledge or information to form a belief as to the truth of the averments contained in said
paragraph, and on that basis, denies each and every averment contained therein.

5. Answering paragraph 5 of the Complaint, Defendant denies that Gordon Walker,
M.D., Dr. Emeka Nchekwube, or Dr. Annu Navani were the agents and employees of Defendant
Good Samaritan Hospital. As to all other averments in said paragraph, Defendant is without
sufficient knowledge or information to form a belief as to the truth of the averments contained in
said paragraph, and on that basis, denies each and every other averment contained therein.

6. Answering paragraph 6 of the Complaint, Defendant is without sufficient
knowledge or information to form a belief as to the truth of the averments contained in said
paragraph, and on that basis, denies each and every averment contained therein.

7. Answering paragraph 7 of the Complaint, Defendant denies each and every .
averment contained therein.

8. Answering paragraph 8 of the Complaint, Defendant denies each and every
averment contained therein.

9. Answering paragraph 9 of the Complaint, Defendant denies each and every
averment contained therein.

10. Answering paragraph 10 of the Complaint, Defendant is without sufficient
knowledge or information to form a belief as to the truth of the averments contained in said
paragraph, and on that basis, denies each and every averment contained therein.

11. Answering paragraph 11 of the Complaint, Defendant denies each and every

averment contained therein.

 

 

 

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ANSWER TO COMPLAINT

CIVIL ACTION NO. 5-10-CV-5032 PVT 2

 
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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 3 of 7

12. Answering paragraph 12 of the Complaint, Defendant denies each and every
averment contained therein.

13. Answering paragraph 13 of the Complaint, Defendant admits that it received the
letter addressed to Defendant Good Samaritan Hospital regarding “Notice of Intention to
Commence Action Against Health Care Provider” dated February 23, 2010, attached to
Plaintiffs’ Complaint, shortly after February 23, 2010. As to.the other factual averments
contained in said paragraph, Defendant is without sufficient knowledge or information to form a
belief as to the truth of the additional averments contained in said paragraph, and on that basis,
denies cach and every additional averment contained therein.

14. Answering paragraph 13 of the Complaint, Defendant incorporates by reference
its response to paragraphs 1-12 of the Complaint.

15. Answering paragraph 15 of the Complaint, Defendant denies each and every
averment contained therein.

16. Answering paragraph 16 of the Complaint, Defendant denies each and every
averment contained therein.

AFFIRMATIVE DEFENSES

As an affirmative defense to the Complaint on file herein, and each claim for relief
thereof, Defendant is informed and believes, and on that basis of such information and belief,
avers as set forth below:

FIRST AFFIRMATIVE DEFENSE

Plaintiffs’ Complaint, and each cause of action stated therein, fails to state facts

sufficient to constitute a cause of action against this answering Defendant.
SECOND AFFIRMATIVE DEFENSE

This answering Defendant alleges that said Complaint fails to state a claim

against Defendant upon which relief can be granted.
THIRD AFFIRMATIVE DEFENSE
Plaintiffs' claims are barred by the applicable statutes of limitation including, but

not limited to, California Code of Civil Procedure section 340 and/or 340.5.

 

 

 

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ANSWER TO COMPLAINT

CIVIL ACTION NO 5-10-CV-5032 PVT 3

 
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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 4 of 7

FOURTH AFFIRMATIVE DEFENSE

Plaintiffs and/or Decedent freely and voluntarily assumed the risk of injury and
damage alleged in this action with full knowledge and appreciation of the magnitude
thereof.

FIFTH AFFIRMATIVE DEFENSE

The injuries and damages suffered by Plaintiffs, if any, were proximately caused

in whole or in part by the fault or negligence of Plaintiffs, the Decedent, or others.
SIXTH AFFIRMATIVE DEFENSE

This answering Defendant alleges that at all relevant times herein, it acted
reasonably, in good faith, with proper purpose, and within the standard of care
applicable to this Defendant.

SEVENTH AFFIRMATIVE DEFENSE

Plaintiffs and/or Decedent, with the exercise of reasonable diligence and effort,
would have and could have mitigated the damages alleged in the Complaint, if indeed
there are. The resultant damages, if any, complained of in said Complaint were directly
and proximately caused by the failure, neglect and refusal of the Plaintiffs and/or
Decedent to exercise reasonable diligence and effort to mitigate the damages alleged.

EIGHTH AFFIRMATIVE DEFENSE

To the extent Plaintiffs suffered any symptoms of mental or emotional distress or
injury, they were the result of a pre-existing psychological disorder or alternative
concurrent cause, and not the result of any act or omission of Defendant.

NINTH AFFIRMATIVE DEFENSE

Defendant alleges that Plaintiffs are barred from relief by virtue of Civil Code
section 1714.8, as there can be no liability in that Plaintiffs' damages, if any, were caused
by the natural course of disease or condition or were the natural or unexpected result of

reasonable treatment rendered for the disease or condition.

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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 5 of 7

TENTH AFFIRMATIVE DEFENSE

In the event Plaintiffs recover a judgment against this Defendant, request is made
that any such liability be apportioned under equitable principles with that of any other
Defendants similarly held responsible to Plaintiffs.

ELEVENTH AFFIRMATIVE DEFENSE

This answering Defendant alleges on information and belief that a certain sum
has been or will be paid to Plaintiffs as compensation for the same damages Plaintiffs
seek against this answering Defendant and, therefore, said Defendant is entitled to a
set-off in said amount against any judgment or recovery Plaintiffs may recover against
this answering defendant.

TWELFTH AFFIRMATIVE DEFENSE

Defendant reserves the right to introduce evidence of any amounts paid or to be
paid as a benefit to plaintiffs in, under and pursuant to Civil Code section 3333.1 and
claim the protection of Civil Code section 3333.2.

THIRTEENTH AFFIRMATIVE DEFENSE

Defendant reserves the right to request to have future damages, if any, paid in

whole or in part, as specified and provided for in Code of Civil Procedure section 667.7.
FOURTEENTH AFFIRMATIVE DEFENSE

This answering defendant asserts that its responsibility, if any, and/or liability, if
any, as to non-economic damages, if any, shall be limited to the percentage of fault
attributable, if any, to this answering Defendant and a separate judgment be so
rendered.

FIFTEENTH AFFIRMATIVE DEFENSE

Defendant cannot fully anticipate all affirmative defenses that may be applicable
to this action based upon the conclusionary terms used in the Complaint. Accordingly,
defendant expressly reserves the right to assert additional defenses if and to the extent

that such affirmative defenses become applicable.

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ANSWER TO COMPLAINT

CIVIL ACTION NO 5-10-CV-5032 PVT 5

 
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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 6 of 7

WHEREFORE, Defendant prays for the following:

1. Plaintiffs take nothing by way of the Complaint for Damages Wrongful
Death and Negligence;

2. Defendant recovers its costs of suit, including attorney’s fees herein; and

3. For such other relief as the Court deems proper.

Dated: December 3, 2010 HARDY ERICH BROWN & WILSON
A Professional Law Corporation

By /S/

STEPHEN W. ROBERTSON
STATE BAR NO. 228708

 

 

 

 

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Case 5:10-cv-05032-LHK Document 16 Filed 12/03/10 Page 7 of 7

PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF SACRAMENTO

I declare as follows:

I am over 18 years of age and not a party to the within action; my business
address is 1000 G Street, Second Floor, Sacramento, California 95814, I am employed
in Sacramento County, California.

On December 3, 2010 at Sacramento, California, by use of electronic mail of
the following documents: ANSWER TO COMPLAINT FOR DAMAGES,
WRONGFUL DEATH AND NEGLIGENCE on the following interested parties in
Case No. 5:10-CV-5032 by transmitting electronically to the following:

Attorney Representing

Anthony H. Santucci, Esq. Plaintiffs
1459 18th Street, #210

San Francisco, CA 94107

Email: thegreat426@sbcglobal.net

George E. Clause Defs. Kaiser Foundation
Hayes Scott Bonino Ellington & McLay, LLP Nospital and The Permanente
203 Redwood Shores Pkwy., Ste. 480 Medical Group, Inc.

Redwood City, CA 94065
Email: gclause@hayesscott.com

Michael T. Pyle Defs. United States of America
Assistant United States Attorney and VA San Jose Clinic

150 Almaden Blvd., Ste. 900

San Francisco, CA 95113

Email: michael.t.pyle@usdoj.gov

I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct and that this declaration was executed on
December 3, 2010, at Sacramento, California, _

 

 

 

 

 

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